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                   UNITED STATES DISTRICT COURT
                  CENTRAL DISTRICT OF CALIFORNIA



DONALD D. McCULLOCH,                  Case No. 5:21-cv-1018-SK
                  Plaintiff,          JUDGMENT
             v.
KILOLO KIJAKAZI, Acting
Commissioner of Social Security,
                  Defendant.



     It is the judgment of this Court that the decision of the Administrative
Law Judge is AFFIRMED. Judgment is hereby entered in favor of
Defendant.


Date: May 31, 2022                 ___________________________
                                   HON. STEVE KIM
                                   U.S. MAGISTRATE JUDGE
